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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


SHAIDON BLAKE,

                                      Plaintiff,

               v.                                           CASE NO. 21-3046-SAC


(FNU) WALLACE, et al.,

                                      Defendants.


                                           ORDER

       Plaintiff filed this pro se civil rights complaint pursuant to 42 U.S.C. § 1983. The Court

granted Plaintiff leave to proceed in forma pauperis. On February 3, 2022, the Court ordered the

preparation of a Martinez Report, which is currently due on May 2, 2022. (See Doc. 7.) The Order

further provided that “[n]o answer or motion addressed to the Complaint shall be filed until the

Martinez Report required herein has been prepared.” Id. However, the docket sheet for this case

states that Defendant Centurion’s answer is due on April 4, 2022, and the other defendants’

answers are due on May 2, 2022. (See Docs. 13 and 14.)

       To clarify, upon the filing of the Martinez Report, the Court will complete the screening of

this action pursuant to 28 U.S.C. § 1915. If the action survives screening, the Court will enter an

order to that effect and set a deadline for Defendants to answer the Complaint.



       IT IS THEREFORE ORDERED that the deadlines contained in Doc. 13 and Doc. 14

are rescinded. No answer or motion addressed to the Complaint shall be filed until so ordered by

the Court.



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IT IS SO ORDERED.

DATED: This 9th day of March, 2022, at Topeka, Kansas.



                                  s/ Sam A. Crow
                                  SAM A. CROW
                                  U.S. Senior District Judge




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